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                         UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CHRISTOPHER NILES,
                                                           Case No. 2:22-cv-1617
                        Plaintiff,

        v.
                                                           FILED ELECTRONICALLY

 UNION SQUARE NEWCASTLE JOINT
 VENTURE,

                        Defendant.


                                           COMPLAINT

       COMES NOW, Plaintiff Christopher Niles, and alleges as follows:

                                          INTRODUCTION

       1.       Plaintiff brings this action against Union Square Newcastle Joint Venture

(“Defendant”), alleging violations of Title III of the Americans with Disabilities Act, 42 U.S.C.

§ 12101 et seq., (the “ADA”) and its implementing regulations, in connection with accessibility

barriers in the parking lots and paths of travel at Defendant’s 2559 W State Street, New Castle,

Pennsylvania location (the “Facility”).

       2.       Plaintiff Christopher Niles (“Plaintiff”) has a mobility disability and is limited in

the major life activity of walking, which has caused him to be dependent upon a wheelchair for

mobility.

       3.       Plaintiff has visited Defendant’s Facility and was denied full and equal access as a

result of Defendant’s inaccessible parking lots and paths of travel.
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       4.         Defendant has discriminated against individuals with mobility disabilities by

implementing policies and practices that violate the ADA’s accessibility guidelines resulting in

access barriers at Defendant’s Facility.

       5.         Unless Defendant is required to remove the access barriers described below, and

required to change its policies and practices so that access barriers do not reoccur at Defendant’s

Facility, Plaintiff will continue to be denied full and equal access to the Facility as described, and

will be deterred from fully using Defendant’s Facility.

       6.         The ADA expressly contemplates injunctive relief aimed at modification of a policy

or practice such as the one Plaintiff seeks in this action. In relevant part, the ADA states:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities . . . Where appropriate, injunctive relief shall also include requiring
       the . . . modification of a policy . . . .

42 U.S.C. § 12188(a)(2).

       7.         Consistent with 42 U.S.C. § 12188(a)(2), Plaintiff seeks a permanent injunction

requiring that:

       a) Defendant remediate all parking and path of travel access barriers at
          Defendant’s Facility, consistent with the ADA;

       b) Defendant change its policies and practices so that the parking and path of travel
          access barriers at Defendant’s Facility do not reoccur; and,

       c) Plaintiff’s representatives shall monitor Defendant’s Facility to ensure that the
          injunctive relief ordered by the Court has been implemented and will remain in
          place.

                    THE ADA AND ITS IMPLEMENTING REGULATIONS

       8.         The ADA was enacted over thirty years ago and is intended to “provide a clear and

comprehensive national mandate for the elimination of discrimination against individuals with

disabilities.” 42 U.S.C. § 12101(b)(1).

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       9.      The ADA broadly protects the rights of individuals with disabilities in employment,

access to State and local government services, places of public accommodation, transportation,

and other important areas of American life.

       10.     Title III of the ADA generally prohibits discrimination against individuals with

disabilities in the full and equal enjoyment of public accommodations, 42 U.S.C. § 12182(a), and

prohibits places of public accommodation, either directly, or through contractual, licensing, or

other arrangements, from outright denying individuals with disabilities the opportunity to

participate in a place of public accommodation, 42 U.S.C. § 12182(b)(1)(A)(i), or denying

individuals with disabilities the opportunity to fully and equally participate in a place of public

accommodation, 42 U.S.C. § 12182(b)(1)(A)(ii).

       11.     Title III further prohibits places of public accommodation from utilizing methods

of administration that have the effect of discriminating on the basis of a disability. 42 U.S.C.

§ 12182(b)(1)(D).

       12.     Title III and its implementing regulations define discrimination to include the

following:

       a) Failure to remove architectural barriers when such removal is readily
          achievable for places of public accommodation that existed prior to January 26,
          1992, 28 CFR § 36.304(a) and 42 U.S.C. § 12182(b)(2)(A)(iv);

       b) Failure to design and construct places of public accommodation for first
          occupancy after January 26, 1993, that are readily accessible to and usable by
          individuals with disabilities, 28 C.F.R. § 36.401 and 42 U.S.C. § 12183(a)(1);

       c) For alterations to public accommodations made after January 26, 1992, failure
          to make alterations so that the altered portions of the public accommodation are
          readily accessible to and usable by individuals with disabilities, 28 C.F.R.
          § 36.402 and 42 U.S.C. § 12183(a)(2); and

       d) Failure to maintain those features of public accommodations that are required
          to be readily accessible to and usable by persons with disabilities, 28 C.F.R.
          § 36.211.

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        13.     The remedies and procedures set forth at 42 U.S.C. § 2000a-3(a) are provided to

any person who is being subjected to discrimination on the basis of disability or who has reasonable

grounds for believing that such person is about to be subjected to discrimination in violation of

42 U.S.C. § 12183. 42 U.S.C. 12188(a)(1).

        14.     The ADA also provides for specific injunctive relief, which includes the following:

        In the case of violations of sections 12182(b)(2)(A)(iv) and section 12183(a) of this
        title, injunctive relief shall include an order to alter facilities to make such facilities
        readily accessible to and usable by individuals with disabilities to the extent
        required by this subchapter. Where appropriate, injunctive relief shall also include
        . . . modification of a policy . . . to the extent required by this subchapter.

42 U.S.C. § 12188(a)(2); 28 C.F.R. § 36.501(b).

                                  JURISDICTION AND VENUE

        15.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 12188(a)(2).

        16.     Plaintiff’s claims asserted herein arose in this judicial district, and Defendant does

substantial business in this judicial district.

        17.     Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b)(1) and (2)

in that this is the judicial district where Defendant resides and in which a substantial part of the

events and/or omissions at issue occurred.

                                                  PARTIES

        18.     Plaintiff Christopher Niles is and, at all times relevant hereto, was a resident of New

Castle, Pennsylvania. Plaintiff, as a result of an accident, is substantially limited in one or more

major life activities, particularly with respect to ambulation. Plaintiff is, therefore, a member of a

protected class under the ADA, 42 U.S.C. § 12102(2), and the regulations implementing the ADA

set forth at 28 C.F.R. §§ 36.101 et seq.



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       19.     Defendant is a general partnership organized under Pennsylvania law and, upon

information and belief, is headquartered at 400 Mosites Way, Suite 100, Pittsburgh, PA 15205.

Defendant owns and controls the Facility located at 2559 W State Street, New Castle, PA 16101

that houses New Castle Nutrition, Planet Fitness, AT&T, King’s Jewelry, Yamato – Sushi &

Hibachi, and Wine & Spirits.

       20.     Defendant is a public accommodation pursuant to 42 U.S.C. §12181(7).

                                   FACTUAL ALLEGATIONS

I.     Plaintiff Has Been Denied Full and Equal Access to Defendant’s Facility.

       21.     Plaintiff has visited Defendant’s Facility within the limitations period, where he

experienced unnecessary difficulty and risk due to excessive slopes in a purportedly accessible

parking area and because of other ADA accessibility violations as set forth in more detail below.

       22.     Despite these risks, Plaintiff plans to return to Defendant’s Facility, as he, a

consumer of the goods and services offered at the Facility, lives in the New Castle area, and he

regularly travels throughout the region to shop and/or patronize restaurants and other businesses.

Furthermore, Plaintiff intends to return to Defendant’s Facility to ascertain whether the Facility

remains in violation of the ADA.

       23.     As a result of Defendant’s non-compliance with the ADA, Plaintiff’s ability to

access and safely use Defendant’s Facility has been significantly impeded.

       24.     Plaintiff will be deterred from returning to and fully and safely accessing

Defendant’s Facility, however, so long as Defendant’s Facility remains non-compliant, and so long

as Defendant continues to employ the same policies and practices that have led, and in the future

will lead, to inaccessibility at Defendant’s Facility.




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        25.        Without injunctive relief, Plaintiff will continue to be unable to fully and safely

access Defendant’s Facility, which is in violation of his rights under the ADA.

        26.        As an individual with a mobility disability who is dependent upon a wheelchair,

Plaintiff is directly interested in whether places of public accommodation, like Defendant’s

Facility, have architectural barriers that impede full accessibility to those accommodations to

individuals with mobility-related disabilities.

II.     Defendant Repeatedly Denies Individuals with Disabilities Full and Equal Access to
        Defendant’s Facility.

        27.        Defendant is engaged in the ownership, operation, management, and development

of the Facility.

        28.        As the owner and/or operator and manager of the Facility, Defendant employs

centralized policies, practices, and procedures with regard to the design, construction, alteration,

maintenance, and operation of its Facility.

        29.        To date, Defendant’s centralized design, construction, alteration, maintenance, and

operational policies and practices have violated the ADA by designing, constructing, and altering

the Facility so that it is not readily accessible and usable, by failing to remove architectural barriers,

and by failing to maintain and operate the Facility so that the accessible features of Defendant’s

Facility are maintained.

        30.        On Plaintiff’s behalf, investigators examined the Facility owned, controlled, and/or

operated by Defendant, and found the following violations in Defendant’s accessible parking

spaces and exterior paths of travel, which are illustrative of the fact that Defendant implements

policies and practices that result in accessibility violations:

              a) Running parking slopes up to 2.7%;

              b) Cross parking slopes up to 4.9%;

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              c) Parking spaces less than 8 feet in width;

              d) Access aisles less than 8 feet in width; and

              e) Signage as low as 42.75 inches from the ground.

        31.      Defendant’s access violations demonstrate that Defendant either employs policies

and practices that fail to design, construct, and alter its Facility so that it is readily accessible and

usable, and/or that Defendant employs maintenance and operational policies and practices that are

unable to maintain accessibility.

        32.      Accordingly, Plaintiff seeks an injunction to remove the barriers currently present

at Defendant’s Facility and an injunction to modify the policies and practices that have created or

allowed, and will create and allow, inaccessibility to affect Defendant’s Facility.

                                    SUBSTANTIVE VIOLATION

                           Title III of the ADA, 42 U.S.C. § 12181, et seq

        33.      The allegations contained in the previous paragraphs are incorporated by reference.

        34.      Defendant’s Facility was altered, designed, or constructed after the effective date

of the ADA.

        35.      Defendant’s Facility is required to be altered, designed, and constructed so that it

is readily accessible to and usable by individuals who use wheelchairs. 42 U.S.C. § 12183(a).

        36.      Further, the accessible features of Defendant’s Facility, which include the parking

lots and paths of travel, are required to be maintained so that they are readily accessible to and

usable by individuals with mobility disabilities. 28 CFR § 36.211.

        37.      The architectural barriers described above demonstrate that Defendant’s Facility

was not altered, designed, or constructed in a manner that causes it to be readily accessible to and




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usable by individuals who use wheelchairs, and/or that Defendant’s Facility was not maintained

so as to ensure that it remained accessible to and usable by individuals who use wheelchairs.

        38.      Furthermore, the architectural barriers described above demonstrate that Defendant

has failed to remove barriers, as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

        39.      Defendant’s failure to design, construct, and alter the Facility so that it is readily

accessible and usable, to remove architectural barriers, and to maintain the accessible features of

its Facility constitutes unlawful discrimination on the basis of a disability in violation of Title III

of the ADA.

        40.      Defendant’s Facility is required to comply with the Department of Justice’s 2010

Standards for Accessible Design, or in some cases the 1991 Standards 42 U.S.C. § 12183(a)(1);

28 C.F.R. § 36.406; 28 C.F.R., pt. 36, app. A.

        41.      Defendant is required to provide individuals who use wheelchairs full and equal

enjoyment of its Facility. 42 U.S.C. § 12182(a).

        42.      Defendant has failed, and continues to fail, to provide individuals who use

wheelchairs with full and equal enjoyment of its Facility.

        43.      Defendant has discriminated against Plaintiff and has failed to make its Facility

fully accessible to, and independently usable by, individuals who use wheelchairs in violation of

42 U.S.C. § 12182(a) as described above.

        44.      Defendant’s conduct is ongoing and continuous, and Plaintiff has been harmed by

Defendant’s conduct.

        45.      Unless Defendant is restrained from continuing its ongoing and continuous course

of conduct, Defendant will continue to violate the ADA and will continue to inflict injury upon

Plaintiff.



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       46.      Given that Defendant has not complied with the ADA’s requirements to make

Defendant’s Facility fully accessible to, and independently usable by, individuals who use

wheelchairs, Plaintiff invokes his statutory rights to declaratory and injunctive relief, as well as

costs and attorneys’ fees.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, prays for:

       a.       A declaratory judgment that Defendant is in violation of the specific requirements
                of Title III of the ADA described above, and the relevant implementing regulations
                of the ADA, in that Defendant’s parking Facility, as described above, is not fully
                accessible to, and independently usable by, individuals who use wheelchairs;

       b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR
                § 36.501(b) which directs Defendant to: (i) take all steps necessary to remove the
                architectural barriers described above and to bring its parking Facility into full
                compliance with the requirements set forth in the ADA, and its implementing
                regulations, so that the parking Facility is fully accessible to, and independently
                usable by, individuals who use wheelchairs; (ii) that Defendant changes its policies
                and practices to prevent the reoccurrence of access barriers in its parking Facility
                post-remediation; and, (iii) that Plaintiff shall monitor Defendant’s parking Facility
                to ensure that the injunctive relief ordered above remains in place.

       c.       Payment of costs of suit;

       d.       Payment of nominal damages, as permitted by the Supreme Court in Uzuegbunam
                v. Preczewski, 141 S.Ct, 792, 799-802 (2021) (“They [nominal damages] are
                instead the damages awarded by default until the plaintiff establishes entitlement to
                some other form of damages, such as compensatory or statutory.”);

       e.       Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
                § 36.505; and,

       f.       The provision of whatever other relief the Court deems just, equitable and
                appropriate.




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Dated: November 15, 2022             Respectfully Submitted,

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